                    UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                                  Case No. 22-47699-lsg

Berwick Hospital Company, LLC                           Chapter 11, Subchapter V

     Debtor.                               Hon. Lisa S. Gretchko
_________________________________________/

                 STIPULATION FOR ENTRY OF ORDER
              DIRECTING THE UNITED STATES TRUSTEE'S
             APPOINTMENT OF PATIENT CARE OMBUDSMAN

         The United States Trustee and the Debtor, by their respective counsel,

stipulate to the entry of an Order Authorizing the United States Trustee’s

Appointment of a Patient Care Ombudsman. A copy of the proposed Order is

attached.

         ANDREW R. VARA                        ROBERT N. BASSEL
         UNITED STATES TRUSTEE
         Regions 3 and 9

                                               /s/ Robert N. Bassel
By:      /s/ Leslie K. Berg                    Attorney for Debtor
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Dated: October 3, 2022




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 In re:                                                  Case No. 22-47699-lsg

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      Debtor.                               Hon. Lisa S. Gretchko
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              ORDER DIRECTING UNITED STATES TRUSTEE'S
              APPOINTMENT OF PATIENT CARE OMBUDSMAN

          THIS MATTER came before the Court upon the Stipulation of the United
States Trustee and the Debtor, to direct the United States Trustee to appoint a patient
care ombudsman pursuant to 11 U.S.C. § 333.
          NOW THEREFORE,
          IT IS ORDERED that the United States Trustee is directed to appoint a
Patient Care Ombudsman.




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